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                              EXHIBIT H
                                Footnote 15
          Smerconish: “The Beauty of Vaccines and Natural Immunity”
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      The Beauty of
      Vaccines and
      Natural
      Immunity
      Jun 4 - Written By Jay Bhattacharya, Sunetra Gupta, and Martin Kulldorff



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      Photo by Kayla Speid | Unsplash




      As scientists, we have been stunned and disheartened to witness many strange scientific claims made during
      this pandemic, often by scientists. None is more surprising than the false assertion made in the John Snow
      Memorandum – and signed by current CDC Director, Rochelle Wolensky – that “there is no evidence for
      lasting protective immunity to SARS-CoV-2 following natural infection.”




      Natural Infection Confers Protection Against
      Severe Disease
      It is now well-established that natural immunity develops upon infection with SARS-CoV-2 in a manner
      analogous to other coronaviruses. While natural infection may not provide permanent infection-blocking
      immunity, it offers anti-disease immunity against severe disease and death that is likely permanent. Among
                                                                                                             Privacy - Terms
      the millions that have recovered from COVID19, exceedingly few have become sick again.
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           • Propagated by the media, the idea that infection does not confer effective immunity has made its way
              into decisions by governments, public health agencies, and private institutions, harming pandemic
              health policy. The central premise underlying these regulations is that only vaccines make a person
              clean. For instance:

           • The state of Oregon has instituted a discriminatory vaccine passport system that provides privileges to
              the vaccinated but treats recovered COVID patients like second-class citizens even though natural
              infection confers disease protection.

           • The European Union will be open to vaccinated tourists this June, but not to recovered COVID
              patients.




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         Living Among the Like-Minded




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